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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 ROSY GIRON DE REYES; JOSE
 DAGOBERTO REYES; FELIX ALEXIS
 BOLANOS; RUTH RIVAS; YOVANA
 JALDIN SOLIS; ESTEBAN RUBEN MOYA
 YRAPURA; ROSA ELENA AMAYA; and
 HERBERT DAVID SARAVIA CRUZ,
                                           Civil Action No. 1:16cv00563-TSE-TCB
              Plaintiffs,

       vs.

 WAPLES MOBILE HOME PARK LIMITED
 PARTNERSHIP; WAPLES PROJECT
 LIMITED PARTNERSHIP; and A.J.
 DWOSKIN & ASSOCIATES, INC.,

              Defendants.


             MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’
                          MOTION TO DISMISS

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         Plaintiffs Rosy Giron De Reyes, Jose Dagoberto Reyes, Felix Alexis Bolanos, Ruth

 Rivas, Yovana Jaldin Solis, Esteban Ruben Moya Yrapura, Rosa Elena Amaya, and Herbert

 David Saravia Cruz (“Plaintiffs”), by their attorneys, respectfully submit this Memorandum of

 Law in Opposition to Defendants’ Motion to Dismiss (“Motion”).

                                  PRELIMINARY STATEMENT

         In this action, Plaintiffs, residents of Waples Mobile Home Park (the “Park”), challenge

 Defendants’ enforcement of a discriminatory policy (the “Policy”) that impermissibly requires

 all Park residents over the age of 18 to prove either their U.S. citizenship or their legal status in

 the United States. As designed and carried out, Defendants’ enforcement of this Policy is

 disproportionately ousting Hispanic or Latino (“Latino”) families from their homes and denying

 them one of the only affordable housing options in Fairfax County, Virginia. In carrying out

 their illegal and discriminatory Policy, Defendants are violating federal and state

 anti-discrimination statutes, and at the same time breaching Defendants’ obligations under the

 Plaintiffs’ lease agreements. Accordingly, Plaintiffs brought this action for declaratory and

 injunctive relief and damages for the injuries they have suffered—and continue to suffer—as a

 result of Defendants’ enforcement of the Policy.

         In their Motion to Dismiss (“Motion”), Defendants contend that Plaintiffs fail to state

 certain claims (Counts I, II, IV, and VI).1 Defendants’ Motion should be denied.

         As an initial matter, Defendants largely base their arguments on the assumption that

 “Plaintiffs’ [claims are] entirely dependent on unlawful aliens being considered a protected

 class,” Memorandum in Support of Defendants’ Motion to Dismiss (“Memorandum” or “Mem.”)




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       As explained below, Plaintiffs do not contest Defendants’ request to dismiss Count VI.
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 at 7. This is not true. The Complaint alleges Plaintiffs’ membership in well-established

 protected classes based on race, national origin, alienage, and citizenship, and Defendants’

 discrimination against those classes. No claim rests on immigration status. No authority

 provided by Defendants supports the implication that immigration status deprives individuals of

 the protections afforded to all other members of the protected classes.

        Plaintiffs state a prima facie claim for violation of the Fair Housing Act, 42 U.S.C.

 § 3604(a), (“FHA”) (Count I), and Virginia Fair Housing Law, Va. Code § 36-96.3 (“VFHL”)

 (Count II). The FHA and VFHL prohibit discrimination on the basis of certain protected classes.

 Claims of discrimination based on a disparate impact theory are cognizable under both statutes.

 The Complaint pleads a claim for disparate impact discrimination by alleging that Defendants’

 Policy discriminates against Latinos, including the Plaintiffs, on the basis of their race and

 national origin—both of which are protected classes.

        Plaintiffs also state a prima facie claim for violation of 42 U.S.C. § 1981 (“Section

 1981”) (Count IV). Section 1981 guarantees equal rights to all persons within the United States

 to make and enforce contracts and provides for a private right of action by anyone who has

 suffered from discrimination based on alienage or citizenship, among other factors. The

 Complaint alleges facts evidencing Defendants’ intentional discrimination against lease

 applicants and current tenants on the basis of their alienage and citizenship.

        Therefore, Plaintiffs respectfully request that the Court deny Defendants’ Motion as to

 Counts I, II, and IV.




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                                          BACKGROUND

 I.     FACTUAL BACKGROUND

        A.      Plaintiffs Are Latino Immigrants Who Currently Live Or Formerly Lived At
                Waples Mobile Home Park

        Each of the Plaintiffs is of Hispanic or Latino (“Latino”) race and national origin. See

 Complaint (Dkt. 1) (“Compl.”) ¶¶ 12-15. Each Plaintiff currently is or recently was a resident of

 Waples Mobile Home Park (the “Park”), a manufactured or “mobile” home community located

 in Fairfax, Virginia. See id. Plaintiffs Jose Dagoberto Reyes (“Mr. Reyes”) and Rosy Giron de

 Reyes (“Mrs. Reyes”), who are Salvadorian, lived at the Park from approximately May 2013

 until Defendants’ actions left them no choice but to leave the Park in May 2016. Id. ¶¶ 12, 64,

 66, 67, 77, 78. Plaintiffs Felix Alexis Bolanos (“Mr. Bolanos”) and Ruth Rivas (“Ms. Rivas”),

 who are Salvadorian, have lived in the Park since approximately 2012. Id. ¶¶ 13, 80-82.

 Plaintiffs Yovana Jaldin Solis (“Ms. Jaldin”) and Esteban Ruben Moya Yrapura (“Mr. Moya”),

 who are Bolivian, have lived there since approximately 2011. Id. ¶¶ 14, 90-92. Plaintiffs Rosa

 Elena Amaya (“Ms. Amaya”) and Herbert David Saravia Cruz (“Mr. Saravia”), who are

 Salvadorian, have lived there since approximately January 2010. Id. ¶¶ 15, 100-101.

        B.      Defendants’ Policy Requires Non-U.S. Citizens To Obtain Or Present
                Additional Paperwork Not Generally Required Of U.S. Citizens

        Defendants maintain a policy of requiring that all individuals who live or intend to live at

 the Park present either (1) an “original social security card” or, if unavailable, (2) an “original

 Passport, original U.S. Visa, and original Arrival/Departure Form (I-94 or I-94W)” (the

 “Policy”). Id. ¶ 26, Ex. A. For many years, Defendants did not enforce the Policy with respect

 to residents other than the leaseholders. Id. ¶ 27. However, in or about mid-2015, Defendants

 began strictly enforcing the Policy for all occupants over the age of 18. Id. Because U.S.

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 citizens almost always have original Social Security cards, the second prong of the Policy

 generally impacts only non-citizens.

        C.      Defendants’ Recent Enforcement Of The Policy Is Ousting Latino Immigrant
                Families From Their Homes

        Defendants now require that all individuals who live or intend to live at the Park present

 the documents described by the Policy. Id. When a lease is up for renewal, Defendants also

 require each tenant to submit the documents specified in the Policy. Id. In enforcing the Policy,

 Defendants have demanded that all occupants over age 18 register with the Park’s management

 office. Id. ¶ 42. To register, occupants must (1) complete a new rental application; (2) submit

 the requisite citizenship or immigration documentation; and (3) pass an additional round of

 criminal background and credit checks. Id.

        Tenants who do not have the documentation that Defendants are requiring have tried to

 resolve the issue in various ways. Id. ¶ 48. Some have attempted to provide alternative

 documentation, such as Individual Taxpayer Identification Numbers (“ITINs”), expired I-94

 forms, and criminal background check reports. Id. Others have expressed confusion with the

 new demand, as these tenants had already undergone and passed Defendants’ background check

 process when first obtaining leases at the Park. Id. Some tenants have approached Defendants’

 agents and explained that they did not have the necessary documentation. Id. Indeed, some

 tenants could not cure the claimed violation of their lease agreements because they, or someone

 with whom they resided, was a non-citizen who did not have, and could not acquire within the

 Defendants’ stated time period (21 days), the documents required by the Policy. Id. ¶ 49.

        Defendants began issuing letters to tenants found to be in violation of the Policy. Id.

 ¶ 50. The letters gave tenants 21 days from receipt of the letter to cure the violation, and if they


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 could not, 30 days from receipt of the letter to vacate the Park. Id. Defendants informed

 affected tenants that, because they or others with whom they resided could not present the

 documentation required by the Policy, Defendants would not permit the tenants to renew their

 leases of the lots on which their homes stood. Id. ¶ 51.

          If Defendants concluded that any unregistered occupants were living in a given mobile

 home, those agents informed the relevant leaseholder that the existing year-long lease would not

 be renewed and that the lease would convert into a “month-to-month” lease. Id. ¶ 52. Under the

 “month-to-month” arrangement, Defendants would charge tenants an additional $125 per month

 ($25 on the base rent plus a $100 premium). Id. Accordingly, tenants who initially paid $745

 per month to lease the land under their homes would be required to pay $870 per month. Id.

          On or around March 11, 2016, Defendants informed tenants that the surcharge associated

 with a “month-to-month” lease would rise to $300 per month, effective June 1, 2016. Id. ¶ 53.

 Accordingly, those tenants who have been denied the opportunity to renew their leases because

 they could not comply with the Policy now face, in addition to the loss of their homes, the threat

 of a monthly rent payment of $1,070, nearly 45 percent more than the cost of their original

 agreed-upon monthly rent. Id.

          D.     Defendants’ Enforcement Of The Policy Has Harmed And Continues To
                 Harm Plaintiffs And Other Latino Immigrant Families

          Defendants’ enforcement of the Policy is denying Latino tenants the ability to remain in

 their own homes with their own families. See id. ¶¶ 64-111. For example:

      •    The Reyes family lived in the Park for just under three years. Id. ¶ 67. Plaintiff Mr.

           Reyes, who signed the family’s lease, was able to provide the paperwork required under

           the Policy, but his wife, Plaintiff Mrs. Reyes, was not. See id. ¶¶ 64, 68, 70-71, 74-77.


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          Despite having approved Mrs. Reyes’s tenancy for several years, Defendants suddenly

          required her to provide the documentation required under the Policy. See id. ¶¶ 65-67,

          69-70, 72, 73-76. When she could not come up with the papers quickly enough,

          Defendants increased the family’s rent, refused to renew its lease, and threatened to

          evict the Reyeses. See id. ¶¶ 71, 76, 79. Ultimately, Mr. and Mrs. Reyes and their

          4-year-old son were forced to sell their home and relocate to a much costlier 1-bedroom

          apartment in one of Annandale, Virginia’s worst slums. Id. ¶¶ 64, 77-79.

      •   Similarly, the Bolanos-Rivas family has lived in the Park for over four years. Id. ¶ 82.

          Plaintiff Mr. Bolanos, who signed the family’s lease, was able to provide the paperwork

          required under the Policy, but his wife, Plaintiff Ms. Rivas, was not. See id. ¶¶ 80-81,

          83. Despite allowing Ms. Rivas to live in the Park for years, Defendants suddenly

          required her to provide the documentation required under the Policy. See id. ¶¶ 80-81,

          83, 84. When she could not, Defendants sent a letter to Mr. Bolanos, refusing to renew

          the family’s lease and increasing its rent on a “month-to-month” basis. Id. ¶ 85, 87.

          Though Mr. Bolanos, Ms. Rivas, and their two children continue to reside in the Park,

          they live in fear that they will soon be forced out of their home. Id. ¶ 88-89.

      •   The Moya-Jaldin family has lived in the Park for over five years. Id. ¶ 92. Plaintiff

          Mr. Moya, who signed the family’s lease, was able to provide the paperwork required

          under the Policy, but his wife, Plaintiff Ms. Jaldin, was not. See id. ¶¶ 90, 94-95.

          Despite allowing Ms. Jaldin to live in the Park for years, Defendants suddenly required

          her to provide the documentation required under the Policy. See id. ¶¶ 92, 94-95.

          When she could not, Defendants sent a letter to Mr. Moya, refusing to renew the

          family’s lease and increasing its rent on a “month-to-month” basis. Id. ¶¶ 96-97.
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            Though Mr. Moya, Ms. Jaldin, and their two children continue to reside in the Park,

            they live in fear that they will soon be forced out of their home. Id. ¶¶ 99.

       •    The Saravia-Amaya family has lived in the Park for over six years. See id. ¶ 101. Mr.

            Saravia, who signed the family’s lease, was able to provide the paperwork required

            under the Policy, but his wife, Plaintiff Ms. Amaya, was not. Id. ¶¶ 102, 104. Despite

            allowing Ms. Amaya to live in the Park for years, Defendants suddenly required her to

            provide the documentation required under the Policy. Id. ¶¶ 102, 104-107. When she

            could not, Defendants sent a letter to Mr. Saravia, refusing to renew the family’s lease

            and increasing its rent on a “month-to-month” basis. Id. ¶¶ 107, 110. Though Mr.

            Saravia, Ms. Amaya, and their five children continue to reside in the Park, they live in

            fear that they will soon be forced out of their home. Id. ¶ 111.

           Defendants’ enforcement of the Policy against each tenant has harmed (and continues to

 harm) not only individuals who cannot provide the paperwork required under the Policy, but also

 those individuals’ spouses and children. See generally id. ¶¶ 64-111. For instance, Defendants’

 insistence that Mrs. Reyes, Ms. Rivas, Ms. Jaldin, and Ms. Amaya cannot live in the Park

 compels these women and their families to choose between two unfortunate options: either (1)

 these wives and mothers must leave their homes and families, or (2) their families must leave the

 homes they have owned and cherished for years. See id. ¶¶ 69, 71, 76, 86, 98, 108.

 II.       PROCEDURAL BACKGROUND

           On May 23, 2016, Plaintiffs filed their Complaint for: Violation of Fair Housing Act, 42

 U.S.C. § 3601 et seq. (“FHA”) (Count I); Violation of Virginia Fair Housing Law, Va. Code

 § 36-96 et seq. (“VFHL”) (Count II); Violation of Manufactured Home Lot Rental Act, Va. Code

 § 55-248.41 et seq. (Count III); Violation of 42 U.S.C. § 1981 (Count IV); Breach of Contract
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 (Count V); and Tortious Interference With Contract (Count VI). On June 13, 2016, Defendants

 moved to dismiss Counts I, II, IV, and VI. For the reasons below, Plaintiffs respectfully request

 that the Court deny the Motion as to Counts I, II, and IV.2

                                       LEGAL STANDARD

        A complaint survives a motion to dismiss pursuant to Federal Rule of Civil Procedure

 12(b)(6) when the complaint “contain[s] sufficient factual matter, accepted as true, to ‘state a

 claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The complaint “has facial

 plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

 inference that the defendant is liable for the misconduct alleged.” Id. (citing Twombly, 550 U.S.

 at 556). “To satisfy this standard, a plaintiff need not forecast evidence sufficient to prove the

 elements of the claim”; a plaintiff need only “allege sufficient facts to establish those

 elements.” Walters v. McMahen, 684 F.3d 435, 439 (4th Cir. 2012) (citation and quotation

 marks omitted). “When considering a motion to dismiss, courts construe the complaint in the

 light most favorable to the plaintiff, read the complaint as a whole, and take the facts asserted

 therein as true.” Mylan Lab., Inc. v. Matkari, 7 F.3d 1130, 1134 (4th Cir. 1993).

        To evaluate the merits of discrimination claims under the Fair Housing Act, 42 U.S.C.

 § 3604(a) (“FHA”), and Virginia Fair Housing Law, Va. Code § 36-96.3 (“VFHL”), courts


   2
      Plaintiffs do not contest Defendants’ request to dismiss Count VI. The parties have
 stipulated that at all relevant times, Defendant A.J. Dwoskin & Associates, Inc. and its
 employees were agents of Defendants Waples Mobile Home Park Limited Partnership and
 Waples Project Limited Partnership and, with respect to the allegations in the Complaint, acted
 within the scope of that agency in signing the lease agreements and managing the Park. On that
 basis, because an agent acting within the scope of its agency cannot interfere with the contract of
 its principal and is instead bound by the contract of its principal, Plaintiffs consent to dismiss
 Count VI with prejudice.
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 employ a three-step burden-shifting framework. See 24 C.F.R. § 100.500(c); see also Matarese

 v. Archstone Pentagon City, 795 F. Supp. 2d 402, 437 (E.D. Va. 2011), aff’d in part, vacated in

 part sub nom. Matarese v. Archstone Communities, LLC, 468 F. App’x 283 (4th Cir. 2012).

 First, a plaintiff must establish a prima facie case. 24 C.F.R. § 100.500(c)(1). Second, once the

 plaintiff meets the initial burden, the defendant, to defeat the claim, must show that the policy is

 “necessary to achieve one or more . . . substantial, legitimate, non-discriminatory interests.” Id.

 §§ 100.500(b)(1), 100.500(c)(2). Third, if the defendant demonstrates the existence of a valid

 justification, the plaintiff may still prevail on a showing that the defendant could serve the same

 interest through “another practice that has a less discriminatory effect.” Id. at

 §§ 100.500(b)(1)(ii), 100.500(c)(3). At the motion to dismiss stage, however, a plaintiff need

 only present a valid prima facie case. See Williams v. 5300 Columbia Pike Corp., 891 F. Supp.

 1169, 1181 (E.D. Va. 1995) (Ellis, J.).

        Under Section 1981, a plaintiff also survives a motion to dismiss by pleading a prima

 facie case. See Taylor v. Millennium Corp., No. 1:15-cv-1046, 2016 WL 927185, at **5-7 (E.D.

 Va. March 4, 2016). “[A] plaintiff may make out a prima facie case by proffering direct

 evidence of discrimination.” Nguyen-Truong v. Int’l Rehab. Associates, Inc., No. 98-2213, 1999

 WL 140745, at *1 (4th Cir. March 16, 1999).

                                            ARGUMENT

 I.     PLAINTIFFS STATE A CLAIM FOR VIOLATION OF THE FAIR HOUSING
        ACT

        Under the FHA, it is unlawful “[t]o refuse to sell or rent after the making of a bona fide

 offer, or to refuse to negotiate for the sale or rental of, or otherwise make unavailable or deny, a

 dwelling to any person because of race, color, religion, sex, familial status, or national origin.”


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 42 U.S.C. § 3604(a). “Discrimination may occur either by disparate treatment or disparate

 impact.” Reinhart v. Lincoln Cty., 482 F.3d 1225, 1229 (10th Cir. 2007) (quoting Mountain Side

 Mobile Estates P’ship v. Sec’y of Hous. & Urban Dev., 56 F.3d 1243, 1250 (10th Cir. 1995)).

 Here, Plaintiffs bring a claim for discrimination by disparate impact.

        Whereas a disparate treatment claim requires proof of intent to discriminate, a disparate

 impact claim does not. See 24 C.F.R. § 100.500 (“Liability may be established under the [FHA]

 based on a practice’s discriminatory effect . . . even if the practice was not motivated by a

 discriminatory intent.”). Rather, “a disparate impact claim challenges practices that have a

 ‘disproportionately adverse effect on minorities’ and are otherwise unjustified by a legitimate

 rationale.” Texas Dep’t of Hous. & Cmty. Affairs v. Inclusive Communities Project, Inc., 135 S.

 Ct. 2507, 2513 (2015) (quoting Ricci v. DeStefano, 557 U.S. 557, 577 (2009)). A policy that

 “actually or predictably results in . . . discrimination,” even if facially neutral, violates the FHA

 under a disparate impact theory. Reinhart, 482 F.3d at 1229 (quoting Huntington Branch,

 NAACP v. Town of Huntington, 844 F.2d 926, 934 (2d Cir.), aff’d, 488 U.S. 15 (1988)).

        Defendants move to dismiss Plaintiffs’ FHA claim for failure to plead a prima facie case.

 A prima facie case of discrimination requires proof of: (1) the existence of a policy that, albeit

 facially neutral, (2) “predictably or actually” results in a disparate impact on (3) a protected

 class. 24 C.F.R. §§ 100.500(a), 100.500(c)(1). Defendants do not dispute the existence of the

 Policy. Instead, they argue that (1) Plaintiffs fail to plead that a protected class is affected, and

 (2) the Policy has not resulted in a disparate impact. Neither argument has merit.




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        A.      Plaintiffs Plead Discrimination Based On Race And National Origin, Both Of
                Which Are Protected Classes Under the FHA

        The Complaint pleads a viable claim for violation of the FHA based on race and/or

 national origin: “Defendants’ enforcement of the Policy constitutes a denial of housing and

 discrimination in the terms, conditions, or privileges of rental of a dwelling on the basis of race

 and/or national origin in violation of the Fair Housing Act, 42 U.S.C. § 3604(a).” Compl. ¶ 113

 (emphasis added). The Complaint alleges that “Defendants’ acts, policies, and practices inflict

 disproportionate harm on Latinos as compared to similarly situated non-Latinos.” Id. ¶ 114; see

 also id. ¶¶ 5, 61-63.

        Courts treat claims “of discrimination on the basis of being Latino as encompassing both

 race and national [origin] discrimination and [do] not differentiate between the two concepts.”

 Central Alabama Fair Housing Center v. Magee, 835 F. Supp. 2d 1165, 1185 n.15 (M.D. Ala.

 2011), vacated on other grounds, Central Alabama Fair Housing Center v. Comm’r, Alabama

 Dep’t of Revenue, No. 11-16114-CC, 2013 WL 2372302 (11th Cir. May 17, 2013). As such,

 courts have consistently recognized disparate impact claims for discrimination against Latinos.

 See Valdez v. Town of Brookhaven, No. 05-CV-4323JSARL, 2005 WL 3454708, at *15

 (E.D.N.Y. Dec. 15, 2005) (finding that “Plaintiffs . . . set forth a sufficient disparate impact case

 to satisfy a showing of likelihood of success on the merits with respect to their Fair Housing Act

 claims” by alleging a neutral ordinance “resulted in the eviction of only Latino tenants”); Rivera

 Inc. v. Vill. of Farmingdale, 784 F. Supp. 2d 133, 145 (E.D.N.Y. 2011) (permitting disparate

 impact claim against Latinos to proceed); Magee, 835 F. Supp. at 1196 (“[T]he plaintiffs have

 clearly established a prima-facie case of disparate impact against Latinos. . . .”); Rodriguez v.

 Nat’l City Bank, 277 F.R.D. 148, 153 (E.D. Pa. 2011), aff’d, 726 F.3d 372 (3d Cir. 2013)


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 (“Defendants’ discretionary lending practices had a discriminatory disparate impact for African

 American and Hispanic borrowers.”). Latinos therefore constitute a protected race and national

 origin class under the FHA as a matter of law.

        The premise of Defendants’ argument—that “Plaintiffs’ disparate impact claim under the

 FHA is entirely dependent on unlawful aliens being considered a protected class,” Mem. at 7—is

 wrong. Plaintiffs do not seek to recover for discrimination against undocumented immigrants,

 see id. at 7-9, nor do they seek to create a new protected class under the FHA on the basis of

 citizenship or alienage, see id. at 9. Plaintiffs agree that undocumented immigrants are not a

 protected class under the FHA; this has no bearing on the FHA claim alleged in the Complaint.

        Defendants fail in their attempt to confuse the issues. The fact that “Plaintiffs who were

 properly documented and in the United States legally all allege that they were able to enter into

 lease agreements,” Mem. at 7, does not change the fact that Defendants denied those same

 Plaintiffs—all Latinos—an opportunity to renew their leases and charged them increased rent.

 Mr. Reyes has temporary protected status (“TPS”) in the United States, yet Defendants refused to

 renew his lease, charged him a premium on his rent, and ultimately forced him out of his home in

 the Park. See Compl. ¶¶ 64, 77-78. Mr. Bolanos has TPS in the United States, Mr. Moya is a

 lawful permanent resident of the United States, and Mr. Saravia has a Social Security number.

 Id. ¶¶ 80, 90, 104. Defendants refused to renew each of these individuals’ leases and charged a

 premium on their rent. See id. ¶¶ 85, 87, 96-97, 107, 110.3




   3
     As described in Argument Part IV, infra, Defendants similarly fail in their effort to distract
 from the issues by referencing the Immigration Reform and Control Act, 8 U.S.C. § 1324, et seq.
 (“IRCA”). See Mem. at 9.
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        Finally, adopting Defendants’ position—that the Policy does not violate the FHA, despite

 its obvious disparate impact on Latinos due to the fact that the Policy explicitly targets

 undocumented immigrants—threatens to impose a ban on undocumented immigrants bringing

 claims under the FHA. Citizenship has no bearing on a person’s standing to enforce his or her

 rights to be free from discrimination. The FHA does not require a plaintiff to be a U.S. citizen,

 but instead prohibits discrimination against “any person.” 42 U.S.C. § 3604(a). Thus, legal

 immigrants, as well as undocumented immigrants, may bring FHA claims as long as they have

 been injured by discrimination based on a protected classification. See 42 U.S.C. § 3613

 (providing private right of action under the FHA to “aggrieved persons”); 42 U.S.C. § 3602(i)

 (defining an “aggrieved person” as “any person” claiming injury from a discriminatory housing

 practice or believing such an injury is about to occur); see also Robert G. Schwemm, Housing

 Discrimination: Law and Litigation §11A:1 (“Fair Housing Act suits alleging national origin

 discrimination may be brought by either United States citizens of a particular national

 background or citizens of other countries.”); cf. Espinoza v. Farah Mfg. Co., 414 U.S. 86, 95

 (1973) (holding that the fact that Title VII prohibits discrimination against “any individual”

 means “that aliens are protected from discrimination”).

        B.      As Plaintiffs Plead, The Policy Has An Adverse Impact On Latinos

        A Complaint pleads the adverse impact element of a prima facie case when a plaintiff

 alleges facts showing that the “challenged practice caused or predictably will cause a

 discriminatory effect.” Texas Dep’t of Hous. & Cmty. Affairs v. Inclusive Communities Project,

 Inc., 135 S. Ct. 2507, 2514 (2015) (quoting 24 C.F.R. § 100.500(c)(1)). Plaintiffs have done so

 here: the Complaint (1) alleges statistical comparisons showing the disparate impact on Latinos

 and (2) demonstrates that the Policy was the sole and direct cause of that disparate impact.
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                1.      Plaintiffs Allege Statistical Comparisons That Demonstrate A
                        Disparate Impact On Latinos

        A disparate impact is “typically” shown by statistical evidence and comparisons. Mt.

 Holly Gardens Citizens in Action, Inc. v. Twp. of Mount Holly, 658 F.3d 375, 382 (3d Cir. 2011).

 Indeed, “[s]tatistics have critical, if not decisive, importance in determining the significance of

 the alleged disparity.” Williams, 891 F. Supp. at 1178 (Ellis, J.). A plaintiff need not show that

 all members, or only members, of a protected class are adversely affected by the policy. See,

 e.g., Betsey v. Turtle Creek Associates, 736 F.2d 983, 988 (4th Cir. 1984) (concluding disparate

 impact was “self-evident” when 74.9% of non-whites, and only 26.4% of whites, were adversely

 affected); Smith v. Town of Clarkton, N.C., 682 F.2d 1055, 1064-66 (4th Cir. 1982) (concluding

 policy that “fell 2.65 times more harshly on black population than on the white” population

 “leaves no doubt” that the black population was adversely affected).

        Courts accept at least two statistical comparison methods to show disparate impact. One

 method compares (1) the proportion of the overall population whose members are within the

 protected class with (2) the proportion of the adversely affected population whose members are

 within the protected class (“Magner comparison”). See Gallagher v. Magner, 619 F.3d 823, 834

 (8th Cir. 2010).4 Another method compares (1) the proportion of members of the protected class


   4
      In Magner, the Eighth Circuit reversed an order granting summary judgment to the
 defendants based on this type of statistical comparison. See Magner, 619 F.3d at 838. U.S.
 Census data showed that 11.7% of the City of St. Paul’s population was African-American, but
 61% and 62% of those on waiting lists for public housing and Section 8, respectively, were
 African-American. Id. at 834. The Eighth Circuit concluded that this comparison “reasonably
 demonstrate[d] that the City’s aggressive enforcement of the Housing Code resulted in a
 disproportionate adverse effect on racial minorities, particularly African-Americans.” Id. at 835;
 see also, e.g., Jackson v. Okaloosa Cty., Fla., 21 F.3d 1531, 1534, 1543 (11th Cir. 1994)
 (reversing dismissal of disparate impact claim where 8% of county’s population was
 African-American, but 86% of adversely affected population was African-American).

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 who are adversely affected with (2) the proportion of persons who are not members of the

 protected class who are adversely affected (“Mt. Holly comparison”). See Mt. Holly Gardens

 Citizens in Action, Inc. v. Twp. of Mount Holly, 658 F.3d 375, 382 (3d Cir. 2011).5

        Plaintiffs have alleged both a Magner comparison and a Mt. Holly comparison here. See

 Compl. ¶¶ 61-63. As to the Magner comparison, Plaintiffs allege that (1) 8.4% of Virginia’s

 population is Latino and (2) 64.6% of Virginia’s total undocumented immigrant population is

 Latino. See id. ¶ 62. As to the Mt. Holly comparison, Plaintiffs specifically allege that (1) 36.4%

 of Latinos are undocumented immigrants and (2) only 3.6% of the non-Latino population and

 5.1% of the white population are undocumented immigrants. See id. ¶ 63. The disparity’s

 magnitude exceeds that of Magner, and roughly equals that of Mt. Holly. These comparisons

 thus state a plausible basis for Plaintiffs’ disparate impact claim.

        Defendants fail in their efforts to challenge Plaintiffs’ allegations as insufficient.

 Defendants take issue with Plaintiffs’ reliance on certain statistics. See Mem. at 10-12

 (suggesting the Complaint’s allegations are not “robust” enough and criticizing the populations

 in the statistics). However, the detailed statistics in the Complaint are sufficient to meet the

 pleading requirements. In sustaining a disparate impact claim, one court noted that where the


   5
      In Mt. Holly, the Third Circuit reversed an order granting summary judgment to the
 defendants based on this type of statistical comparison. See Mt. Holly, 658 F.3d at 387-88. The
 Third Circuit noted that 22.54% of African-Americans and 32.31% of Latinos would be
 adversely affected by the housing policy at issue, but “only 2.73% of White households” would
 be adversely affected by the same policy. Id. at 382. Given this stark contrast—i.e.,
 “African-Americans would be 8 times more likely to be affected by the project than Whites, and
 Hispanics would be 11 times more likely to be affected”—the Third Circuit concluded that
 “[t]hese statistics . . . show a disparate impact.” Id.; see also, e.g., Greater New Orleans Fair
 Hous. Action Ctr. v. St. Bernard Par., 641 F. Supp. 2d 563, 567 (E.D. La. 2009) (finding
 disparate impact based on expert’s analysis finding that “17.61 % of African-American
 households” were adversely affected by the policy, “compared to only 9.54% of Caucasian
 households”).
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 plaintiff included “data from the most recent U.S. census that support[ed] [the] allegation,”

 “plaintiffs ha[d] alleged more than adequate facts to support their disparate impact claim.”

 National Fair Housing Alliance, Inc. v. Prudential Insurance Company of America, 208 F. Supp.

 2d 46, 60-61 (D.D.C. 2002). The Complaint here includes nine footnotes showing demographic

 data derived from various U.S. Census Bureau datasets. See Compl. ¶¶ 56-63.

        Defendants also argue that Plaintiffs “fail to allege statistics on the percentages of

 undocumented aliens or Latinos in mobile homes either nationwide, in Virginia, or in Fairfax

 County.” Mem. at 12 (emphasis in original). But Defendants provide no legal basis for their

 demand for such specificity, which is by no means necessary to show a disparate impact. If

 anything, Fourth Circuit case law gives Plaintiffs leeway in presenting the exact comparators

 used to show a disparate impact. For example, in Nickell v. Montgomery County, 878 F.2d 379,

 1989 WL 69331 (4th Cir. June 20, 1989) (unpublished), the Fourth Circuit acknowledged that

 the “relevant population for determination of disparate racial impact” was “the rental population

 of the affected units,” but accepted statistics of the “overall rental population of the County”

 because “[t]here [wa]s no evidence presented” that the former “differ[ed]” from the latter. Id. at

 1 & n.1; see also Smith v. Town of Clarkton, N.C., 682 F.2d 1055, 1060-61, 1065-66 (4th Cir.

 1982) (relying on township- and county-level statistics in affirming judgment that defendants

 violated the FHA under a disparate impact theory, even though policy was applied at the town

 level).6 Similarly, here, there is no reason to believe that mobile home-based statistics would


   6
      The Fourth Circuit is not alone in providing such leniency. See, e.g., Mt. Holly, 658 F.3d at
 378 n.3 (3d Cir. 2011) (accepting plaintiffs’ reliance on 2000 U.S. Census data because such
 “data appears to provide the most accurate demographic data” available for the relevant time
 period); Magner, 619 F.3d at 834 (8th Cir. 2010) (crediting statistical comparison as showing
 disparate impact where plaintiffs used “2000 census data” for one data point and “data from
 October 2004” for the other data point).
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 differ materially from the overall housing-based statistics alleged in the Complaint. Cf. Dothard

 v. Rawlinson, 433 U.S. 321, 330 (1977) (“[R]eliance on general population demographic data

 was not misplaced where there was no reason to suppose that physical height and weight

 characteristics of Alabama men and women differ markedly from those of the national

 population.”). At bottom, Defendants’ argument—that the Complaint fails because it does not

 allege statistics using mobile homes as a denominator—has no merit.

        Finally, Defendants misconstrue the case law on which they rely. Defendants cite

 Edwards v. Johnston County Health Dep’t, 885 F.2d 1215 (4th Cir. 1989) (Ellis, J.), for the

 proposition that a “statistical imbalance,” standing alone, is insufficient to survive a motion to

 dismiss. Mem. at 11. But Defendants ignore critical context from that opinion. The Edwards

 plaintiffs “concede[d] that white and non-white workers were equally affected” by the housing

 practice at issue, 885 F.2d at 1224 (emphasis added), and “nowhere in the Complaint [did they]

 contend that the appellees’ actions affected non-white migrant farmworkers to a greater degree

 than white farmworkers,” id. at 1223 (emphasis in original). Though a preexisting statistical

 imbalance was insufficient in that factual context, here, the Complaint alleges that the Policy

 affected Latino residents to a much greater degree than non-Latino or white residents. See, e.g.,

 Compl. ¶¶ 61-63. Indeed, the magnitude by which Latinos are adversely affected in relation to

 non-Latino or white residents, as alleged in this Complaint, is significantly greater than

 precedent in which courts have concluded that a disparate impact exists. Compare id. ¶ 63

 (alleging, based on U.S. Census datasets, that “Latinos are over ten times more likely than

 non-Latinos, and over seven times more likely than whites, to be adversely affected by the

 Policy” (emphases added)), with Huntington Branch, N.A.A.C.P. v. Town of Huntington, 844

 F.2d 926, 938 (2d Cir. 1988) (finding a policy that affected “28% of minorities” and “11% of
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 whites”—i.e., a policy that affected minorities at a rate roughly 2.5 times more than whites—had

 a disparate impact), aff’d, 488 U.S. 15 (1988). Accordingly, Plaintiffs’ statistical allegations

 meet their burden to plead an adverse impact on Latinos.

                2.      Plaintiffs’ Complaint Adequately Alleges That The Policy Directly
                        Caused The Disparate Impact

        Plaintiffs have also alleged facts sufficient to show that the Policy caused—and continues

 to cause—the disparate impact because the allegations show “that a challenged practice caused

 or predictably will cause a discriminatory effect.” 24 C.F.R. § 100.500(c)(1). Plaintiffs’

 Complaint is clear on this point: but for Defendants’ Policy requiring original Social Security

 cards (or other proof of legal status), Plaintiffs would not be deprived of housing; they would be

 living peacefully in their homes, without a looming fear of being forced out.

        The Complaint demonstrates that Defendants’ enforcement of the Policy is the sole and

 direct cause of the disparate impact at issue. For example, the Policy compelled the Reyes

 family to sell its home and vacate the Park. See Compl. ¶¶ 75-78. Construing the facts in the

 light most favorable to Plaintiffs, the Policy was the only reason for the Reyes family’s abrupt

 departure. The Complaint also alleges various attempts made by the Plaintiffs to cure their

 non-compliance with the Policy—and documents the futility of such attempts—which further

 shows that the Policy is the sole reason for creating the disparate impact. See id. ¶¶ 70, 75, 86,

 98, 108.

        Defendants argue that Plaintiffs’ stubbornness—i.e., the fact that Plaintiffs are “unable or

 unwilling to comply with federal law to obtain the documents identified in the Policy,” Mem. at

 11—rather than the Policy is causing the adverse impact. This is absurd. Defendants portray




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 Plaintiffs as having the choice to obtain Social Security cards, if only Plaintiffs would seek them

 out. The reality is that, under the existing legal framework, Plaintiffs have no such choice.

        Further, the fact that Plaintiffs made numerous attempts to comply with the Policy

 through alternative means belies any assertion by Defendants that Plaintiffs could have complied

 with the Policy, if only they were willing. For example, Mr. Reyes tried to negotiate a lease that

 would permit his wife to remain with him. Compl. ¶ 73. When that failed, Mr. Reyes provided

 Defendants with “(1) [his wife]’s ITIN; (2) a criminal background report of [his wife] reflecting

 no convictions; and (3) a copy of [his wife]’s passport.” Id. ¶ 75. When that also failed, it was

 evident that Defendants had made it “impossible” for the Reyes family to continue living in their

 home at the Park. Id. ¶ 77. No reasonable inference can be drawn from the facts alleged in the

 Complaint that anything but the Policy caused the disparate impact at issue here.

        Defendants’ reliance on Ellis v. City of Minneapolis, No. 14-cv-3045, 2015 WL 5009341

 (D. Minn. Aug. 24, 2015), and City of Los Angeles v. Wells Fargo & Co., No. 2:13-cv-09007-

 ODW, 2015 WL 4398858 (C.D. Cal. July 17, 2015), to argue that Plaintiffs have not alleged a

 sufficient causal link, is misplaced. Ellis involved landlords challenging a city’s enforcement of

 certain housing policies that allegedly precipitated “increasing operating costs,” which in turn

 forced the landlords to reduce the amount of low-income housing they provided, which in turn

 had a disparate impact on protected class members. Ellis, 2015 WL 5009341, at *10. The

 causation here is much less attenuated: Defendants’ Policy directly caused the harm, and

 Plaintiffs are the ones who have been harmed, as opposed to the ones being forced to cause

 harm. City of Los Angeles did not even involve a causation analysis. There, the plaintiff based

 its disparate impact claim on an alleged lack of a policy, so the court dismissed the claim for the



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 plaintiffs’ failure to identify an actual policy. City of Los Angeles, 2015 WL 4398858, at *8.

 Here, Plaintiffs have identified the Policy at issue, a fact which Defendants do not dispute.

        Accordingly, Plaintiffs sufficiently allege a prima facie claim for disparate impact

 discrimination under the FHA, and Defendants’ request to dismiss Count I should be denied.

 II.    PLAINTIFFS STATE A CLAIM FOR VIOLATION OF THE VIRGINIA FAIR
        HOUSING LAW

        Under the VFHL, just as with the FHA, it is unlawful “[t]o refuse to sell or rent after the

 making of a bona fide offer, or to refuse to negotiate for the sale or rental of, or otherwise make

 unavailable or deny, a dwelling to any person because of race, color, religion, national origin,

 sex, elderliness, or familial status.” Va. Code § 36-96.3. As Defendants note, “[t]he VFHL

 claim is based on disparate impact,” not intentional discrimination. See Mem. at 14.

 Defendants contend the VFHL claim should be dismissed because (1) the statute does not

 recognize a disparate impact theory, and (2) the Complaint fails to state a prima facie claim for

 the same reasons Defendants cite under the FHA. Mem. at 12-14. Neither argument has merit.

        A.      A Disparate Impact Claim Is Cognizable Under The VFHL

        Without citing any authority in support, Defendants contend that “the VFHL does not

 recognize a disparate impact claim.” Mem. at 12. The text of the statute is silent concerning

 whether it encompasses a disparate impact claim, but the inquiry does not end there. Reading the

 VFHL in conjunction with its regulations and policies reveals that a disparate impact claim exists

 in the VFHL to the same extent as in the FHA.

        The VFHL is modeled after the FHA. The relevant VFHL language is virtually identical

 to the FHA’s language. Compare Va. Code § 36-96.3 (“It shall be an unlawful discriminatory

 housing practice for any person: 1. To refuse to sell or rent after the making of a bona fide offer


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 or to refuse to negotiate for the sale or rental of, or otherwise make unavailable or deny, a

 dwelling to any person because of race, color, religion, national origin, sex, elderliness, or

 familial status; . . .”), with 42 U.S.C. § 3604 (“. . . it shall be unlawful— (a) To refuse to sell or

 rent after the making of a bona fide offer, or to refuse to negotiate for the sale or rental of, or

 otherwise make unavailable or deny, a dwelling to any person because of race, color, religion,

 sex, familial status, or national origin . . .”).

         By regulation, the VFHL is construed to “impose obligations, rights and remedies which

 are substantially equivalent to those provided by the federal housing law and regulations.” 19

 Va. Admin. Code § 135-50-30. The express language of the FHA also does not provide for a

 disparate impact claim, but the Supreme Court of the United States nonetheless held that such

 claims were cognizable in Texas Dep’t of Hous. & Cmty. Affairs v. Inclusive Communities

 Project, Inc., 135 S. Ct. 2507 (2015). This Court should similarly recognize a disparate impact

 claim in the VFHL. See Sisemore v. Master Fin., Inc., 151 Cal. App. 4th 1386, 1420 (2007)

 (holding that a disparate impact theory was viable under California’s state law version of the

 FHA, noting that “the Legislature sought to make the [statute] substantially equivalent to the

 federal Fair Housing Act” (internal quotations and citations omitted)); see also Burbank

 Apartments Tenant Ass’n v. Kargan, 48 N.E.3d 394, 407-408 (Mass. 2016) (holding that a

 disparate impact theory was viable under Massachusetts’ state law version of the FHA).

         Recognizing a disparate impact claim under the VFHL is consistent with the underlying

 policy rationale for the statute. The VFHL declares as follows:

                 It is the policy of the Commonwealth of Virginia to provide for fair
                 housing throughout the Commonwealth, to all its citizens, regardless
                 of race, color, religion, national origin, sex, elderliness, familial
                 status, or handicap, and to that end to prohibit discriminatory
                 practices with respect to residential housing by any person or group
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                of persons, in order that the peace, health, safety, prosperity, and
                general welfare of all the inhabitants of the Commonwealth may be
                protected and insured. This law shall be deemed an exercise of the
                police power of the Commonwealth of Virginia for the protection of
                the people of the Commonwealth.

 VA Code § 36-96.1. When considering this policy rationale, Virginia courts have noted, “It is

 hard to envision a more emphatic expression of a desire to use the full police power of the state

 to outlaw sexual, racial, and other types of invidious discrimination to the maximum extent

 possible under the law.” Hughes v. Bransfield, 84 Va. Cir. 214, 2012 WL 7960051, at *3 (2012)

 (quoting Allen v. Seventy–Seven Acres, 48 Va. Cir. 318, 1999 WL 199665, at *5 (1999)).

 Recognizing a disparate impact claim in the VFHL is consistent with the spirit of combating

 discrimination and using the full power of the state to outlaw it. See Kargan, 48 N.E.3d at

 407-08 (relying on “the policy underlying the fair housing statutes” to find that a disparate

 impact theory was viable under Massachusetts’ state law version of the FHA, noting: “After all,

 it is a steadfast principle in the affordable housing context that ‘[c]onduct that has the necessary

 and foreseeable consequence of perpetuating segregation can be as deleterious as purposefully

 discriminatory conduct in frustrating the national commitment to replace the ghettos by truly

 integrated and balanced living patterns’” (quoting Metropolitan Hous. Dev. Corp. v. Village of

 Arlington Heights, 558 F.2d 1283, 1289 (7th Cir. 1977), cert. denied, 434 U.S. 1025 (1978))).

        B.      The Complaint Alleges A Prima Facie Claim For Disparate Impact
                Discrimination Under The VFHL

        The Complaint pleads a viable claim for violation of the VFHL for the same reasons as

 the FHA claim: (1) Plaintiffs bring their claim as part of a protected race and national origin

 class of Latinos, and (2) Plaintiffs allege that the discrimination they suffered as Latinos was a

 result of Defendants’ enforcement of the Policy. See supra, Argument Part I.


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                1.      Plaintiffs Plead Discrimination Based On Race And National Origin,
                        Both Of Which Are Protected Classes Under The VFHL

        The Complaint pleads a viable claim for violation of the VFHL based on race and/or

 national origin: “Defendants’ enforcement of the Policy constitutes a denial of housing and

 discrimination in the terms, conditions, or privileges of rental of a dwelling on the basis of race

 and/or national origin in violation of the Virginia Fair Housing Law, Va. Code § 36-96.3,”

 Compl. ¶ 119, and “Defendants’ acts, policies, and practices inflict disproportionate harm on

 Latinos as compared to similarly situated non-Latinos,” id. ¶ 120; see also id. ¶¶ 5, 62, 63.

 Plaintiffs agree with Defendants that “[u]nlawful and/or undocumented immigration status is not

 a protected class under the VFHL,” Mem. at 14, but this has no bearing on the VFHL claim here,

 which is based on race and/or national origin discrimination. The VFHL prohibits discrimination

 on the basis of race or national origin. Va. Code § 36-96.3. As described supra, Argument Part

 I, the Complaint pleads a prima facie case of discrimination based on race and/or national origin.

                2.      As Plaintiffs Plead, The Policy Has An Adverse Impact On Latinos

        The Complaint also pleads that “[t]he disproportionate harm experienced by Plaintiffs is

 the direct and immediate consequence of Defendants’ implementation and enforcement of a ban

 on residents who lack a Social Security number and a requested set of immigration documents,”

 Compl. ¶ 120, and “[a]s a result of Defendants’ acts, policies, and procedures, Plaintiffs and their

 families have been denied the opportunity to renew their leases of the land on which their homes

 stand,” id. ¶ 121; see also id. ¶ 122. As described above, supra, Argument Part I, the Complaint

 pleads a prima facie case of discrimination based on the Policy’s adverse impact on Latinos.

 Accordingly, Defendants’ request to dismiss Count II should be denied.




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 III.    PLAINTIFFS STATE A CLAIM FOR VIOLATION OF SECTION 1981

         Section 1981 establishes that “[a]ll persons subject to the jurisdiction of the United States

 . . . have the same right . . . to make and enforce contracts . . . as is enjoyed by white citizens.”

 42 U.S.C. § 1981(a). The Complaint pleads that Defendants intended in both the design and

 application of the Policy to discriminate against Plaintiffs based on alienage and citizenship.

 See, e.g., Compl. at ¶¶ 2, 4, 7, 39, 132-137 (alleging discrimination on the basis of alienage and

 citizenship). Defendants argue that Plaintiffs fail to plead (1) that a protected class is affected,

 and (2) evidence of intent to discriminate.7 See Mem. at 15-19. Neither argument has merit.

         A.      Plaintiffs Plead Discrimination Based On Alienage And Citizenship, Both Of
                 Which Are Protected Classes Under Section 1981

         Defendants’ Motion ignores a fundamental point: a person’s alienage and citizenship are

 entirely distinct from that person’s immigration status. Plaintiffs belong to protected alienage

 and citizenship classes, which are protected under Section 1981. See Duane v. GEICO, 37 F.3d

 1036, 1044 (4th Cir. 1994) (applying Section 1981 to alienage and citizenship-based

 discrimination). Contrary to Defendants’ suggestion, Plaintiffs do not allege discrimination

 against a class of undocumented immigrants. Indeed, the Complaint alleges that certain

 Plaintiffs do have legal status. See Compl. ¶¶ 64, 80, 90. However, the Section 1981 claim is

 based on the fact that none of the Plaintiffs are U.S. citizens. See id. ¶¶ 64, 80, 90, 100.

         Defendants provide no support for their actual argument—that Plaintiffs’ immigration

 status somehow disqualifies them from protection on the basis of their membership in protected

 classes. See Mem. at 15-16. The conspicuous lack of authority is unsurprising, given Section




   7
     Defendants also argue, once again, that this claim conflicts with the IRCA. As described in
 Argument Part IV, infra, this argument fails.
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 1981’s extension of protections to “[a]ll persons within the jurisdiction of the United States.” 42

 U.S.C. § 1981(a).

        B.      Plaintiffs Plead Evidence Of Intentional Discrimination Sufficient To State A
                Section 1981 Claim

        Plaintiffs base their Section 1981 claim on direct evidence of intentional discrimination.

 See Demuren v. Old Dominion University, 33 F. Supp. 2d 469, 478 (E.D. Va. 1999) (stating that

 plaintiffs may use direct evidence of a defendant’s intent to satisfy 1981 claim), aff’d, 188 F.3d

 501 (4th Cir. 1999); see also Nguyen-Truong v. Int’l Rehab. Associates, Inc., No. 98-2213, 1999

 WL 140745, at *1 (4th Cir. March 16, 1999) (“[A] plaintiff may make out a [Section 1981]

 prima facie case by proffering direct evidence of discrimination.”). “Direct evidence of

 discrimination is either [1] direct evidence of a stated purpose to discriminate, or [2]

 circumstantial evidence of sufficient probative force.” Demuren, 33 F. Supp. 2d at 478-79; see

 also Holmes v. Bevilacqua, 794 F.2d 142, 146 (4th Cir. 1986). Both direct and circumstantial

 evidence are present here.

                1.      Direct Evidence Demonstrates A Discriminatory Purpose

        As Plaintiffs have alleged, the Policy’s design and Defendants’ conduct constitute direct

 evidence of Defendants’ intent to discriminate against Plaintiffs based on alienage or citizenship.

 See Compl. at ¶¶ 26-39 (outlining the Policy and alleging it “serves no purpose other than to

 illegally and illegitimately identify and exclude undocumented immigrants from the Park”).

 “[A] facially discriminatory policy . . . is direct evidence of discriminatory intent.” Nguyen v.

 City of Cleveland, 229 F.3d 559, 563 (6th Cir. 2000); Stone v. Autoliv ASP, Inc., 210 F.3d 1132,

 1136 (10th Cir. 2000) (“A plaintiff proves discrimination through direct evidence by establishing

 proof of an existing policy which itself constitutes discrimination.”) (internal quotation marks


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 and citation omitted); Metrocare v. Washington Metro. Area Transit Auth., 679 F.2d 922, 929

 (D.C. Cir. 1982) (noting that a “discriminatory . . . policy” would have constituted direct

 evidence of discriminatory intent).

        On its face, the Policy evidences an express, discriminatory purpose by requiring lease

 applicants to provide specific documents that are substantially more burdensome for aliens or

 non-citizens, as opposed to U.S. citizens, to obtain and present. See Compl. ¶ 26, Exhibit A

 (Defendants’ Policy requiring (1) an original Social Security Card; or (2) an original passport,

 original U.S. visa, and an original I-94 or I-94W “arrival/departure” form)8; see also Doe v.

 Edgar, No. 88-C-579, 1989 WL 91805, at *3 (N.D. Ill. Aug. 4, 1989) (finding law requiring

 driver’s license applicants to produce Social Security cards raised issue of fact whether

 legislature discriminated against undocumented immigrants in violation of Section 1981).

        The Policy imposes only a nominal burden on U.S. citizens, who typically receive Social

 Security cards around the same time as their birth certificates. Aliens and non-citizens are much

 less likely than U.S. citizens to possess Social Security cards, and must therefore typically

 contend with the more burdensome requirements of the Policy’s second prong.

        For example, the Policy requires applicants not presenting a Social Security card to

 provide an original I-94 or I-94W “arrival/departure” form. While a lost Social Security card can

 be replaced for free,9 aliens or non-citizens replacing a lost original paper format I-94 issued


   8
     When evaluating a motion to dismiss, courts “consider documents that are explicitly
 incorporated into the complaint by reference . . . and those attached to the complaint as exhibits.”
 Goines v. Valley Cmty. Servs. Bd., No. 15-1589, -- F.3d --, 2016 WL 2621262, at *3 (4th Cir.
 May 9, 2016) (citing Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007) and
 Fed. R. Civ. P. 10(c)).
   9
     See U.S. Social Security Administration, Frequently Asked Questions: How do I apply for a
 new or replacement Social Security number card? (June 13, 2016),

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 prior to April 2013 must pay a $330 fee.10 Moreover, U.S. Customs and Border Protection

 stopped issuing paper versions of such forms in April 2013.11 Consequently, aliens or

 non-citizens who entered the country since that time may be unable to provide an “original”

 form.

         Notably, the Policy directly discriminates—to the point of apparent exclusion—against

 aliens or non-citizens holding immigrant visas. The Policy requires lease applicants to submit an

 original I-94, yet persons holding immigrant visas do not need to complete an I-94 upon arrival

 in the U.S.12 Immigrant visas represent the first step towards establishing lawful permanent

 residency,13 but it is unclear whether immigrant visa holders can ever comply with the Policy’s

 demand for an original I-94. The Policy thus bars from the Park all immigrant visa holders save

 those who have undertaken the additional step of obtaining a Social Security card.

         Defendants’ agents’ conduct and statements regarding the Policy also demonstrate

 discriminatory intent. See Spagnuolo v. Whirlpool Corp., 641 F.2d 1109, 1113 (4th Cir. 1981)

 (indicating a defendant’s conduct may be offered as direct evidence of discriminatory intent).




 https://faq.ssa.gov/link/portal/34011/34019/Article/3755/How-do-I-apply-for-a-new-or-
 replacement-Social-Security-number-card (last visited June 27, 2016).
   10
       See U.S. Citizenship and Immigration Services, I-102, Application for Replacement/Initial
 Nonimmigrant Arrival-Departure Document (March 9, 2016), https://www.uscis.gov/i-102 (last
 visited June 27, 2016).
   11
       See U.S. Customs and Border Protection, Arrival/Departure History Now Available on I-94
 Webpage (April 30, 2014), https://www.cbp.gov/newsroom/spotlights/2014-04-30-
 000000/arrivaldeparture-history-now-available-i-94-webpage (last visited June 27, 2016).
   12
       See U.S. Customs and Border Protection, CBP Form I-94 (“This form must be completed
 by all persons except U.S. Citizens, returning resident aliens, aliens with immigrant visas, and
 Canadian Citizens visiting or in transit.”) (emphasis added),
 https://www.cbp.gov/sites/default/files/documents/CBP%20Form%20I-
 94%20English%20SAMPLE_Watermark.pdf, (last visited June 27, 2016).
   13
       See U.S. Department of State, The Immigrant Visa Process (last visited June 27, 2016),
 https://travel.state.gov/content/visas/en/immigrate/immigrant-process.html.
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 Specifically, Defendants’ agents made clear the discriminatory intent against aliens or

 non-citizens underlying the Policy when an agent rationalized the Policy’s requirements by

 telling Plaintiffs undocumented immigrants “might be criminals.” Compl. ¶ 71.

                2.      Circumstantial Evidence Demonstrates Intentional Discrimination

        “Circumstantial evidence of sufficient probative force” constitutes “[d]irect evidence of

 discrimination,” see Demuren, 33 F. Supp. 2d at 478-79, and thus may form the basis of a prima

 facie case under Section 1981, see Nguyen-Truong, 1999 WL 140745, at *1. As described

 above, the Policy’s incoherent design inevitably causes discriminatory burdens for aliens or

 non-citizens, and when “the adverse consequences . . . upon an identifiable group are . . .

 inevitable . . . a strong inference that the adverse effects were desired can reasonably be drawn.”

 Pers. Adm’r of Massachusetts v. Feeney, 442 U.S. 256, 279 n.25 (1979). Defendants’ blanket

 practice of applying the Policy at its other housing communities in Northern Virginia, see

 Compl. ¶ 28, suggests a broad discriminatory intent to reduce the number of alien or non-citizen

 residents at Defendants’ communities. See Lovelace v. Sherwin-Williams Co., 681 F.2d 230, 243

 n.15 (4th Cir. 1982) (observing that circumstantial evidence of broadly-applied policy or plan to

 replace older workers with younger employees would have “obvious inferential force”).

        Moreover, while Defendants suggest that the Policy exists to facilitate “criminal

 background and credit checks,” Mem. at 4, the Policy requires documents that are not necessary

 to achieve that purpose, see Compl. ¶¶ 32-39 (alleging documents required by the Policy are not

 necessary for background and credit checks and citing publications supporting the use of ITINs

 or other documents for such checks). This evidence that Defendants could achieve the Policy’s

 stated purpose by accepting other documents aliens or non-citizens can more easily provide

 supports the inference that the stated purpose is merely a pretext masking discriminatory intent.
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        Accordingly, Plaintiffs sufficiently allege a prima facie claim for discrimination under

 Section 1981, and Defendants’ request to dismiss Count IV should be denied.

 IV.    PLAINTIFFS’ CLAIMS DO NOT CONFLICT WITH FEDERAL
        IMMIGRATION LAW

        Contrary to Defendants’ arguments, Mem. at 9, 19-20, Plaintiffs’ FHA and Section 1981

 claims present no risk of conflict with the Immigration Reform and Control Act, 8 U.S.C.

 § 1324, et seq. (“IRCA”). The IRCA says nothing about Latinos as a class, nor does it permit

 Defendants to continue enforcing a policy that results in the disproportionate displacement of

 Latino families, regardless of their immigration status. Defendants cannot present any support

 for the suggestion that the IRCA operates to bar landlords from leasing housing to individuals

 with unknown immigration status or individuals who reside with them.

        In arguing that the ruling Plaintiffs seek would place Defendants in jeopardy of criminal

 liability for “harboring . . . aliens” within the meaning of IRCA § 1324(a)(1)(A)(iii), Defendants

 rely solely upon a distinguishable, unpublished precedent. See Mem. at 9, 19-20. That case,

 United States v. Aguilar, imposed liability on a boarding house operator who ignored multiple

 warnings from federal immigration officials over the course of several months. See 477 Fed.

 App’x 1000, 1002-03 (4th Cir. 2012). Defendants have offered no evidence that federal

 immigration authorities made any such warnings to the Park as explanation for Defendants’

 recent and sudden interest in strictly enforcing their discriminatory Policy.

        Recent precedent from other circuits demonstrates that the IRCA only jeopardizes

 landlords who affirmatively shield undocumented immigrants from detection or discovery. See,

 e.g., United States v. Vargas-Cordon, 733 F.3d 366, 382 (2d Cir. 2013) (“The mere act of

 providing shelter to an alien, when done without intention to help prevent the alien’s detection by


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 immigration authorities or police, is . . . not an offense under § 1324(a)(1)(A)(iii).”); DelRio-

 Mocci v. Connolly Props., 672 F.3d 241, 247 (3rd Cir. 2012) (“We do not know of any court of

 appeals that has held that knowingly renting an apartment to an alien lacking lawful immigration

 status constitutes harboring.”); see also Lozano v. City of Hazleton, 620 F.3d 170, 223 (3d Cir.

 2010), (“It is highly unlikely that a landlord’s renting of an apartment to an alien lacking lawful

 immigration status could ever, without more, satisfy this definition of harboring. Renting an

 apartment in the normal course of business is not in and of itself conduct that prevents the

 government from detecting an alien’s presence.”), vacated on other grounds, City of Hazleton v.

 Lozano, 563 U.S. 1030 (2011).

        As the Third Circuit has noted, “We cannot imagine that Congress contemplated that our

 nation’s landlords . . . would be tasked with making complex legal determinations about who is

 permitted to live in this country, much less that they would be criminalized in error in so doing.”

 DelRio-Mocci, 672 F.3d at 250. The lone Fourth Circuit case Defendants cite for their

 interpretation of the IRCA, Aguilar, also suggests the IRCA focuses on active, intentional

 deception of authorities. See Aguilar, 477 Fed. App’x at 1002-03 (IRCA applied to boarding

 house operator who ignored multiple warnings from immigration officials). Defendants’

 decision to ask about immigration status is an optional practice that is not required to avoid

 criminal liability, and does not otherwise support Defendants’ purported effort to identify

 negative criminal or consumer background information. Accordingly, the IRCA does not bar

 Plaintiffs’ claims under the FHA and Section 1981.

                                           CONCLUSION

        For the above reasons, Plaintiffs respectfully request that the Court deny Defendants’

 Motion as to Counts I, II, and IV.
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 Dated this 27th day of June, 2016     Respectfully submitted,




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                                CERTIFICATE OF SERVICE

        I hereby certify that on the 27th day of June, 2016, I filed the foregoing document

 electronically with the Clerk of the Court using the ECF system, and caused to be served by

 electronic mail a copy of the MEMORANDUM OF LAW IN OPPOSITION TO

 DEFENDANTS’ MOTION TO DISMISS upon the following parties:



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